Case 2:00-cv-73657-PDB-TAC ECF No. 90, PagelD.665 Filed 04/08/05 Page i1of1

UNITED STATES COURT OF APPEALS FILED
FOR THE SIXTH CIRCUIT
APR = 4 2005

Nos. 03-1904; 03-1942
No. 03-1904 . | EONARD GREEN, Clerk

DAVID BEARD: THEO DOWNS, as next friend of Peggy Shumway; PEGGY SHUMWAY,
EDWARD GARIEPY, as next friend of Alyssa Chappa; ALYSSA CHAPPA; TAMARA BLEAU,
as next friend of Robert Cook; ROBERT COOK; RONALD FORD, SR., as next friend of Ronald
Ford, Jr.,; RONALD FORD, JR.; NANCY HUSKINSON, as next friend of Stacy Huskinson,
STACY HUSKINSON,

Plaintiffs - Appellees,

. 00-73b5 7

WHITMORE LAKE SCHOOL DISTRICT,

Defendant, | LL E

CHARMAINE BALSILLIE; BRIAN CARPENTER;
JAY MUNZ; WENDY LEMONS; SUE LANGEN, APR ~8 2005
Defendants - Appellants.

 

CLERK'S OFFICE

No. 03-1942 r
DAVID BEARD: THEO DOWNS, as next friend of Peggy Shumway; PEGGY SHUMWAY!
EDWARD GARIEPY, as next friend of Alyssa Chappa; ALYSSA CHAPPA, TAMARA BLEAU,
as next friend of Robert Cook: ROBERT COOK; RONALD FORD, S8R., as next friend of Ronald
Ford, Jr.; RONALD FORD, JR.; NANCY HUSKINSON, as next friend of Stacy Huskinson;
STACY HUSKINSON,
Plaintiffs - Appellces,

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WHITMORE LAKE SCHOOL DISTRICT; CHARMAINE BALSILLIE; BRIAN CARPENTER;
JAY MUNZ; WENDY LEMONS; SUE LANGEN,

Defendants,
R. MAYRAND, Officer,

Defendant - Appellant.

Before: GUY and ROGERS, Circuit Judges; DOWD, District Judge.
JUDGMENT

On Appeal from the United States District Court
for the Eastern District of Michigan at Detroit.

THIS CAUSE was heard on the record from the district court and was argued by counsel.

IN CONSIDERATION WHEREOF, it is ORDERED that the judgment of the district court is
REVERSED.

ENTERED BY ORDER OF THE COURT

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Leohard Green, Clerk e

 
